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                                                                                     FILED
                                                                                     7/10/2024

                                                                              CLERK, U.S. DISTRICT COURT
                             UNITED STATES DISTRICT COURT                     WESTERN DISTRICT OF TEXAS
                              WESTERN DISTRICT OF TEXAS                            By:     CO
                                   EELlPPAaSsOo DIVISION                                             Deputy


                                              §                 Case No:          EP:24-CR-01416-KC
                                              §
UNITED STATES OF AMERICA,                     §        INDICTMENT
                                              §
                Plaintiff,                    §        Conspiracy toSmuggle Goods from    the United States
                                              §
v.                                            §
                                              §        Smuggling Goods fromthe United States
 1 JAIME NOECEBALLOS MATURIN                  §
                     and                      §
 2 DANIEL^SOBERANES NUNEZ^                    §        Notice of Government’s Demand for Forfeiture
                                              §
                Defendants.                   §



THE GRAND JURY CHARGES:
                                      INTRODUCTION

At all times relevant to this Indictment:

1. The Commerce Control List (“CCL”), located at Title 15, Code of Federal Regulations, Section
   774, details commodities, software, and technology subject to control by the United States
   Department of Commerce, Bureau of Industry and Security pursuant to the Export Control
   Reform Act, Title 50, United States Code, Chapter 58.

2. The CCL is part of the Export Administration Regulations (“EAR”), located at Title 15, Code
   of Federal Regulations, Section 730 et seq.

3. Ammunition is designated as controlled item in Section 774, Appendix Supplement Number 1
   of the CCL.

4. According to Title 15, Code of Federal Regulations, Section 736.2, a person may not export
   an item subject to the EAR to another country if exporting that item to that country requires a
   license.

5. Exportation of ammunition to Mexico requires a license.

6. Defendants, JAIME NOE CEBALLOS MATURIN and DANIEL SOBERANES NUNEZ,
   did not have a license or any authority to export firearms or ammunition out of the United
   States to Mexico.
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THE GRAND JURY CHARGES:
                                          COUNT ONE

       The Grand Jury re-alleges and incorporates by reference the Introduction as if fully set

out herein.

       Beginning on or about June 11, 2024, and continuing until on or about June 12, 2024, in

                                Defendants,

                             (1) JAIME NOE CEBALLOS MATURIN
                               (2) DANIEL SOBERANES NUNEZ,

and others known and unknown to the grand jury, knowingly and willfully did combine, conspire,

confederate and agree with each other and with others known and unknown to the Grand Jury, to

commit the following offense against the United States, that is, knowingly and unlawfully exported

and attempted to export from the United States into Mexico, any merchandise, article and object,

contrary to any law or regulation of the United States, to wit: approximately 1,950 rounds of 9mm

BX ammunition, 700 rounds of 38 Super BG ammunition, 150 rounds of 380 BG ammunition, and

20 rounds of 30-30 BG ammunition, in violation of Titl
                                                    tlee 18,, Unitedd Statess Cod
                                                                               ode,, Sectionn 554.

                                     MANNER AND MEANS

       The manner and means by which the Defendants (1) JAIME NOE CEBALLOS

MATURIN and (2) DANIEL SOBERANES NUNEZ sought to accomplish the objectives of the

conspiracy included, among other things, the following:

              a. At the direction of other unknown persons, the Defendants purchased ammunition

                 to smuggle from the United States;

              b. Using a credit card belonging to Defendant (2) DANIEL SOBERANES NUNEZ’s

                 wife to purchase ammunition;

              c. Purchasing ammunition from a licensed federal firearms merchant.

              d. Concealing the ammunition to avoid detection during the smuggling; and

              e. Failing to declare the ammunition during the commission of the smuggling.
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                                            OVERT ACTS

          In furtherance of the conspiracy alleged in Count One, and to affect the objects thereof, the

following overt acts, among others, were committed in the Western District of Texas, and

elsewhere:

             a. On or about June 11, 2024, at approximately 5:00 p.m., Defendants (1) JAIME
                NOE CEBALLOS MATURIN and (2) DANIEL SOBERANES NUNEZ
                purchased approximately 1,950 rounds of 9mm BX ammunition, 700 rounds of 38
                Super BG ammunition, 150 rounds of 380 BG ammunition, and 20 rounds of 30­
                30 BG ammunition in El Paso, Texas with the understanding and purpose that the
                ammunition was to be exported to Mexico;

             b. On or about the evening of June 11, 2024, Defendants (1) JAIME NOE
                CEBALLOS MATURIN and (2) DANIEL SOBERANES NUNEZ loaded
                approximately 1,950 rounds of 9mm BX ammunition, 700 rounds of 38 Super BG
                ammunition, 150 rounds of 380 BG ammunition, and 20 rounds of 30-30 BG
                ammunition inside the rocker panel of a white 2012 Dodge Journey’s wheel well;
                and

             c. On or about June 11, 2024, at approximately 11:46 p.m., Defendants (1) JAIME
                NOE CEBALLOS MATURIN and (2) DANIEL SOBERANES NUNEZ
                entered the Bridge of the Americas Port of Entry in the Western District of Texas
                and attempted to enter the Republic of Mexico, as the respective driver and
                passenger of the white 2012 Dodge Journey, where they gave false negative
                declarations to Customs and Border Protection Officers, knowing that they had
                ammunition in their vehicle at the time.

                                            COUNT TWO

          The Grand Jury re-alleges and incorporates by reference the Introduction as if fully set out

herein.

          Beginning on or about June 11, 2024, and continuing through and including on or about



                                  Jaime Noe Ceballos Maturin
                                    Daniel Soberanes Nunez
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              ndnsitoed f 3S8ta0teBs GCaod   unecittiioonn , 5a5n4d. 20 rounds of 30-30 BG ammunition, in violation
                                           , S



                 NOTICE OF GOVERNMENT’S DEMAND FOR FORFEITURE
                               [See Fed. R. Crim. P. 32.2]

                                                I.
           Smuggling Goods from the United States Violation and Forfeiture Statutes
         [Title 18 U.S.C. §§ 371 and 554, subject to forfeiture pursuant to Title 18 U.S.C
               § 981(a)(1)(C) and Title 19 U.S.C. § 1595a(d), as made applicable to
                         criminal forfeiture by Title 28 U.S.C. § 2461(c)]

         As a result of the criminal violations set forth above, the United States of America gives

notice to Defendants (1) JAIME NOE CEBALLOS MATURIN and (2) DANIEL

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              nE        ez of its intent to seek the forfeiture of the property described below upon
                    NunEZ
                eSs NUN

conviction and pursuant to Fed. R. Crim. P. 32.2, Title 18 U.S.C. § 981(a)(1)(C) and Title 19

U.S.C. § 1595a(d), as made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which

state:

         Title 18 U.S.C. § 981. Civil Forfeiture
                 (a)(1) The following property is subject to forfeiture to the United States:
                 ***
                 (C) Any property, real or personal, which constitutes or is derived from proceeds
                traceable to a violation . . . of this title or any offense constituting “specified
                unlawful activity” (as defined in section 1956(c)(7) of this title), or a conspiracy to
                 commit such offense.

         Smuggling Goods from the United States in violation of Title 18 U.S.C. § 554 is an offense

constituting “specified unlawful activity” as defined in 18 U.S.C. § 1956(c)(7)(D).

         Title 19 U.S.C. § 1595a. Forfeiture and other penalties
                  ***
                 (d) Merchandise exported contrary to law
                   Merchandise exported or sent from the United States or attempted to be exported
                   or sent from the United States contrary to law, or the proceeds or value thereof,
                   and property used to facilitate the exporting or sending of such merchandise, the
                   attempted exporting or sending of such merchandise, or the receipt, purchase,
                   transportation, concealment, or sale of such merchandise prior to exportation
                   shall be seized and forfeited to the United States.
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        This Notice of Demand for Forfeiture includes but is not limited to the property described

in Paragraph II.

                                               II.
                                            Property

   1.   Approximately 1,950 rounds of 9mm caliber BX ammunition;
   2.   Approximately 700 rounds of .38 caliber Super BG ammunition;
   3.   Approximately 150 rounds of .380 caliber BG ammunition;
   4.   Approximately 20 rounds of 30-30 caliber BG ammunition; and
   5.   Any and all firearms, ammunition, and/or accessories involved in or used in the
        commission of the criminal offense.




JAIME ESPARZA
UNITED STATES ATTORNEY


BY:
  Assistant U.S. Attorney
